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   Attorneys for Plaintiff,
12 Simran Mudher
13
                      IN THE UNITED STATES DISTRICT COURT
14
                            FOR THE DISTRICT OF ARIZONA
15
16 Simran Mudher,                                  Case No.: 2:17-cv-02146-GMS
17
                    Plaintiff,
18
19         vs.                                     NOTICE OF SETTLEMENT

20 National Collection Systems, Inc. d/b/a
21 National Credit Management,
   a Missouri corporation,
22
23                  Defendant.
24         NOTICE IS HEREBY GIVEN that Plaintiff and Defendant, National
25
     Collection Systems, Inc., in the above-captioned case have reached a settlement. The
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                                               1
       Case 2:17-cv-02146-GMS Document 29 Filed 07/30/18 Page 2 of 2



1 parties anticipate filing a Stipulation of Dismissal with Prejudice as to Defendant
2
  National Collection Systems, Inc., pursuant to Fed. R. Civ. P. 41(a) within 60 days.
3
4        RESPECTFULLY SUBMITTED this 30th day of July, 2018.
5                                     KENT LAW OFFICES
6
7
                                       By: /s/ Trinette G. Kent
8                                      Trinette G. Kent
                                       Attorneys for Plaintiff,
9
                                       Simran Mudher
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